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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                          CASE NO. 20-61249 -CIV-DIMITROULEAS

  JHON SARMIENTO, Individually and
  on behalf of all others similary situated,

         Plaintiff,
  vs.

  SCHEAR CONSTRUCTION, LLC, a
  Florida Limited Liability Company,

         Defendant.
                                                /

                           NOTICE OF FILING CONSENT TO JOIN

         Plaintiff, JHON SARMIENTO, gives notice of filing the attached Consent to Join

  executed by Michael Book, attached hereto as Exhibit A.

  DATED: September 22, 2020.                   Respectfully submitted,


                                                /s/ ANDREW R. FRISCH______
                                               ANDREW R. FRISCH
                                               MORGAN & MORGAN, P.A.
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                                               Plantation, Florida 33324
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                                               Trial Counsel for Plaintiff
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on this 22nd day of September 2020, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which I understand will send

  a notice of electronic filing to all parties of record.


                                                            /s/ ANDREW R. FRISCH
                                                            Andrew R. Frisch




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